Case 21-17109-AJC Doc 25 Filed 10/21/21 Page 1 of 2

UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

www. fisb.uscourts.gov
CHAPTER 13 PLAN (Individual Adjustment of Debts)

 

 

 

 

[| Original Plan
[mi Second Amended Plan (Indicate Ist, 2nd, etc. Amended, if applicable}
C] Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)
DEBTOR: Mauro Geovanni Caballero JOINT DEBTOR: CASE NO.: 21-17509-BKC-AJC
SS#: XXx-xx- 3542 SS#: xXX-XX-
NOTICES”
To Debtors: Plans that do not comply with jocal rules and judicial rulings may not be confirmable. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-1 (C)(5}, 3015-1(B)(2), and 3015-2. Debtor(s} must commence plan payments within 30 days of

filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph VIIL Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

 

The valuation of a secured claim, set out in Section HW, which may result ina

 

 

 

 

 

 

 

 

 

 

partial payment or no payment at al to the secured creditor [] Included [a] Not included
Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set 0 Included ia] Not included
| out in Section III
Nonstandard provisions, set out in Section IX [] Included (m] Not included
IL. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(SY ATTORNEY'S FEE
A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:
1. $350.00 formonths | to 12 ;
2. $2,364.78 formonths 13 to 60 ;
B. DEBTOR(S)' ATTORNEY'S FEE: LE] NONE [] PRO BONO
Total Fees: $4,650.00 Total Paid: $1,300.00 Balance Due: $3,350.00
Payable $279.17 ‘month (Months 1 to 12 )
Allowed fees under LR 2016-1(B}(2) are itemized below:
$4,500.00 + $150.00 (cost) = $4,650.00
Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
LIT. TREATMENT OF SECURED CLAIMS [] NONE

SECURED CLAIMS: [mj] NONE

VALUATION OF COLLATERAL: [fg] NONE
LIEN AVOIDANCE [i] NONE

SURRENDER OF COLLATERAL: [il] NONE

DIRECT PAYMENTS [[] NONE

Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution fom the Chapter 13 Trustee.
[m] The debtor(s) elect to make payments directly to cach secured creditor listed below. The debtor(s) request that upon
confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.

Poon Fp

LF-3] (rev. 06/04/21} Page | of 2
Case 21-17109-AJC Doc 25 Filed 10/21/21 Page 2 of 2

 

 

 

 

 

Debtor(s): Mauro Geovanni Caballero Case number: 21-17109-BKC-A
Name of Creditor Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
Century Park Condo No.2 4007 8942 W. Flagler St #7 Miami, FL 33174
I, Association, Inc
Secretary of Housing and 2334 8942 W. Flagler St #7 Miami, FL 33174
2. Urban Development
Secretary of Housing and 2334 8942 W. Flagler St #7 Miami, FL 33174
3. Urban Development
y Wells Fargo Home Mortgage 9108 8942 W. Flagler St #7 Miami, FL 33174
5 Club Wyndham 2165 Timeshare

 

IV. TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(ay4)]_ [DJ] NONE
A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: [il] NONE

 

B. INTERNAL REVENUE SERVICE; [mj] NONE

 

 

Total Due: $2,513.07 Total Payment $2,313.07
Payable: $35.83 /month (Months 1 to 12 }
Payable: $43.40 ‘month (Months 13 to 60 )

 

 

C. DOMESTIC SUPPORT OBLIGATION(S): [ml] NONE

D. OTHER: [|B] NONE
Vv. TREATMENT OF UNSECURED NONPRIORITY CREDITORS L_] NONE

A. Pay $0.00 ‘month (Months 1 to 12 )

Pay $2,084.90 ‘month (Months 13 to 60 )
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
B. [i] [f checked, the Debtor(s} will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
C. SEPARATELY CLASSIFIED: — fil] NONE
VIL STUDENT LOAN PROGRAM [mg] NONE
VIE. EXECUTORY CONTRACTS AND UNEXPIRED LEASES [if] NONE
VIL. INCOME TAX RETURNS AND REFUNDS: [Bm] NONE

IX. NON-STANDARD PLAN PROVISIONS [lB] NONE

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter [3 plan is true and correct under penalty of perjury.

 

 

!si Debtor October 21, 2021 - Joint Debtor
Mauro Geovanni Caballero Date Date
Patrick L. Cordero, Esq. October 21, 202]

Attorney with permission to sign on Date

Debtor(s}' behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIII.

LF-3] (rev. 06/04/21) Page 2 of 2
